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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-3083                                                September Term, 2023
                                                                    1:21-cr-00085-CRC-1
                                                  Filed On: October 2, 2023 [2019927]
United States of America,

              Appellee

      v.

John Herbert Strand,

              Appellant

                                        ORDER

       It is ORDERED, on the court’s own motion, that the briefing schedule set forth in
the court’s order filed September 19, 2023, be suspended pending further order of the
court.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Tatiana A. Magruder
                                                         Deputy Clerk
